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IN THE UNITED STATES DISTRICT CoURT w

FoR THE wEsTERN DISTRICT 0F TENNESSEE j »‘t; f li 3: n 1

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v_ ease No. 04-20359-.1${1;:§!»;; § ga
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Defendant. 4-

     

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.'IJ- ms

ORDER EXCUSING PRESENCE AND GRANTING CONTINUANCE

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This cause came on to be heard on motion of defendant to continue his case to allow
additional time to prepare. Upon Statement of counsel and the record as a Whole, the Court finds

the matter well taken and grants the motion to continue and the presence of the defendant is

prior

Jo P. McCalla, District Court Judge

 

Dated: m/Ml] Z"{r?°°$-

   

UNITED `sATEs DISTRIC COURT - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 163 in
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Honorable .l on McCalla
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